              Case 3:20-cr-00249-RS        Document 72       Filed 09/24/21     Page 1 of 2




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 9 Attorneys for United States of America

10                                   UNITED STATES DISTRICT COURT

11                                NORTHERN DISTRICT OF CALIFORNIA

12                                       SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                       ) CASE NO. 20-CR-00249 RS
14                                                   )
             Plaintiff,                              )
15                                                   ) STIPULATION AND [PROPOSED] ORDER
        v.                                           ) EXCLUDING TIME
16                                                   )
     ROWLAND MARCUS ANDRADE,                         )
17                                                   )
             Defendant.                              )
18                                                   )

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20           This matter came before the Court on September 13, 2021 for a hearing regarding appointment
21 of counsel. On September 17, undersigned defense counsel was appointed by the Court to represent

22 defendant Andrade, pending further proceedings regarding whether the defendant shall make any

23 contributions towards the cost of his defense. At the September 13 hearing, the Court set this matter for

24 a status conference before the district judge on October 12, 2021 and found that the time between

25 September 13 and October 12 should be excluded under the Speedy Trial Act in order to allow newly

26 appointed counsel time to effectively prepare for trial. Accordingly, the parties hereby stipulate and

27 agree that the period from September 13, 2021 through October 12, 2021 should be excluded in

28 accordance with the provisions of the Speedy Trial Act, 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), for

     STIPULATION AND [PROPOSED] ORDER                1
     CASE NO. 20-CR-00249 RS
             Case 3:20-cr-00249-RS         Document 72        Filed 09/24/21     Page 2 of 2




 1 effective preparation of defense counsel, taking into account the exercise of due diligence.

 2          IT IS SO STIPULATED.

 3 DATED: September 21, 2021                                     Respectfully submitted,

 4                                                               STEPHANIE M. HINDS
                                                                 Acting United States Attorney
 5
                                                                        /s/
 6                                                               ANDREW F. DAWSON
                                                                 Assistant United States Attorney
 7

 8                                                                      /s/
                                                                 MICHAEL SHEPARD
 9                                                               Attorney for Defendant

10

11                                           [PROPOSED] ORDER

12          For the reasons stated in the stipulation of the parties above, and for good cause shown, the Court

13 hereby orders that time is excluded, pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv) from September

14 13, 2021 through October 12, 2021.

15

16 DATED: September 24, 2021
                                                         HONORABLE SALLIE KIM
17                                                       United States Magistrate Judge

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     STIPULATION AND [PROPOSED] ORDER                2
     CASE NO. 20-CR-00249 RS
